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LYLE W. CAYCE
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Suite 115
NEW ORLEANS, LA 70130

October 28, 2020

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

No. 20-50907 Mi Familia Vota, et al v. Greg Abbott,

Governor,
USDC No.

et al

5:20-cv-830 -J KP

Enclosed is an order entered in this case.

Ms.
Mr.
Mr.

Mr.
Mr.
Mr.
Mr.
Mr.
Mr.

Mrs.
Mr.

Jeannette Clack, Clerk
Jonathan S. Abady

Evan J. Ballan

Matthew Brinckerhoff
Ben Clements

Todd Lawrence Disher
Kyle Douglas Hawkins
Eric Alan Hudson

Sean M. Lyons

Patrick K. Sweeten
Natalie Deyo Thompson

William Thomas Thompson

Sincerely,

LYLE W. CAYCE, Clerk

é fom qr h—

By:
Jann M. Wynne, Deputy Clerk
504-310-7688

 

 
